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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BLOCKFI INC., et al.,                                          Case No. 22-19361 (MBK)

                                      Debtors.1                 (Jointly Administered)



                            DEBTORS’ REPLY TO
                   OBJECTION OF THE OFFICIAL COMMITTEE
               OF UNSECURED CREDITORS TO APPLICATION OF THE
              DEBTORS AND DEBTORS IN POSSESSION FOR ENTRY OF
        AN ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
      MOELIS & COMPANY, LLC AS INVESTMENT BANKER, CAPITAL MARKETS
     ADVISOR, AND FINANCIAL ADVISOR EFFECTIVE AS OF THE PETITION DATE

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 respectfully submit this reply (the “Reply”) to the Objection of the Official Committee of


 1     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
       LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
       (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service
       address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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 Unsecured Creditors to Application of the Debtors and Debtors in Possession for Entry of an

 Order Authorizing the Retention and Employment of Moelis & Company, LLC as Investment

 Banker, Capital Markets Advisor, and Financial Advisor Effective as of the Petition Date

 [Docket No. 279] (the “Objection” and the underlying Debtors’ application, the “Application”)2

 filed by the Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 above-captioned chapter 11 cases. In support of this Reply, the Debtors state as follows:

                                                       Reply

         1.       The Debtors agree with the Committee that these chapter 11 cases are not ordinary.

 Given the size of the Debtors’ business, domestic and international client base, the complexity of

 the Debtors’ product offerings, the interplay with other ongoing chapter 11 cases in the

 cryptocurrency space, and the timing of the current industry volatility, the Debtors’ chapter 11

 cases are much more complex than your typical case⁠. These complexities are precisely why Moelis

 is uniquely qualified to work with the Debtors to solve the many challenges they currently face

 and to maximize value for the Debtors and their stakeholders, a fact that the Debtors recognized

 in engaging them as an advisor. The Debtors have the authority to do so under section 328 of the

 Bankruptcy Code, which permits debtors to select advisors in their sound business judgment to

 assist in maximizing the value of the estates for the benefit of all parties in interest, subject to

 reasonable terms and conditions and Court approval.

         2.       The Committee’s suggested “wait and see” approach would make a chapter 7

 liquidation a fait accompli, resulting in immeasurable and irreparable harm to the constituency the

 Committee seeks to protect. At its core, the Objection reflects a fundamental misunderstanding of



 2   All capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in the
     Objection or Application, as applicable.


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 the value that creditors may receive under various exit scenarios, the complexities involved in

 cryptocurrency bankruptcies, the expertise and abilities of Moelis, and how crucial Moelis will be

 in efforts to bring about a swift and successful resolution to these cases. The Committee attempts

 to downplay the importance of Moelis to achieving the best outcome available under the

 circumstances for all parties in interest—including the unsecured creditor body who the

 Committee’s advisors represent. Those efforts are misguided. Moelis’ services will be central to

 executing an effective chapter 11 case, however such case is structured.

        3.      As described more fully in its Application, Moelis is simultaneously exploring

 various alternatives to determine the best outcome reasonably available under the circumstances

 for the Debtors and their stakeholders including: (a) one or more sales of the Debtors’ Mining

 assets, Customer Platform and Claims; (b) a stand-alone reorganization with or without new

 capital (which could involve substantial creditor ownership in the pro forma business); and (c) a

 self-liquidation pursuant to which the Debtors will return cryptocurrency and cash to creditors.

 And although the Committee seems quick to generally disparage “optionality,” see Objection ¶ 5,

 the Debtors are fiduciaries for the estates, and therefore cannot simply shut down any path (or

 paths) that may enhance value to creditors in these chapter 11 cases.

        4.      All of those options are on the table and the Debtors are not in a position to dismiss

 any. Yet denying the Debtors access to necessary advisors with expertise (i.e., someone like

 Moelis) and the personnel needed to effectuate a different outcome could leave the Debtors with

 no options other than a chapter 7 liquidation that does not return any cryptocurrency to customers.

 Key elements considered in evaluating alternatives include (i) value; (ii) timing of receipt of

 proceeds; (iii) execution risk; (iv) leakage to the estate (which include fees, time value of money,

 liquidity discounts relating to monetizing or rebalancing (i.e., purchase and sale of crypto current


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 to facilitate in-kind distributions under a plan) tokens, tax considerations, ongoing costs to support

 the businesses, etc.); and (v) other considerations (potentially, for example, distinctions between

 U.S. and international creditor constituencies). Moelis will be involved in numerous simultaneous

 and different workstreams to help evaluate those alternatives and ensure swiftest possible

 execution, including (but not limited to):

             •   business plan creation and evaluation (including analysis of capitalization);

             •   design and negotiation of a plan of reorganization (as applicable);

             •   identification and interaction with strategic and financial investors / purchasers for
                 various assets;

             •   design of sale processes for various assets;

             •   interaction and negotiations with any investors / purchasers;

             •   pro forma capital structure / liquidity evaluation;

             •   ascribing value to the estate and to customers the options presented in all scenarios
                 described above (or combinations thereof);

             •   valuation analysis and testimony as necessary as part of any Court approval process,
                 which would likely be necessary to implement a plan of reorganization; and

             •   interacting and liaising with regulators interested in these cases as well as any new
                 capital providers in both stand-alone and potential sale transactions.

        5.       The services of an investment banker (either Moelis or someone else with similar

 skills and experience) are critical to these cases. Moelis will drive the sale process, interact with

 bidders, and attempt to generate the highest opportunity possible for the company. Irrespective of

 the Committee’s and its advisors’ expressed pessimism, there is material interest in the Debtors’

 assets and business from buyers. While too soon to tell for certain, the Debtors expect a sale of

 some or all of their assets to be a meaningful possibility. Further, a stand-alone reorganization,

 which must be evaluated as a potential alternative, would require the services of a firm like Moelis

 who has expertise in designing, negotiating, and executing a chapter 11 plan of reorganization; has

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 the ability to evaluate and sensitize the business plan and capital requirements; and can help raise

 required capital for funding the reorganization. A self-liquidating plan would involve many

 similar steps as a stand-alone reorganization (including the re-starting of the BlockFi platform

 following a complex rebalancing process to deliver in-kind distributions to clients)—and may be

 accomplished in combination with other contemplated transactions. But again, none of this work

 is realistic without the services that are proposed to be provided by Moelis.

        6.      A self-liquidating plan for BlockFi would likely be a hybrid deal where the Debtors

 monetize their mining assets, either monetize their claims in whole or part or place them in a trust,

 sell $100 million or more of staked ETH (which may be challenging to “return”), sell a range of

 assets including BlockFi’s customer list, technology platform, intellectual property, and venture

 investments, and permit the Debtors to seek to enhance value for creditors and optimize creditor

 recoveries through a range of workstreams such as hedging strategies (e.g., purchase of crypto

 derivatives to participate in upside crypto price exposure), tax optimization through in-kind

 approaches, addressing potential distinctions between U.S. and international customers, and other

 nuanced aspects of an overall transaction. The Debtors would also then need to “rebalance” their

 cryptocurrency portfolio and complete the tasks necessary to make distributions (hopefully

 in-kind) to customers through the BlockFi platform. A self-liquidating plan would require the

 services both of Moelis (or some other investment bank with relevant skills) and the employees

 currently engaged at BlockFi.

        7.      That said, the Debtors recognize that their advisors also need to go about their work

 efficiently and in a cost-effective manner. And that is precisely why the Debtors provided the

 Committee with a good faith extension of their deadline to object to the Application in the hopes

 that, should the Committee have any issues or questions about the Application, the Debtors could


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 address such questions in a constructive, commercial manner, obviating the need for expensive

 motion practice and a contested hearing. While the Committee alleges that the Debtors had an

 attitude of “‘I’d rather take my chances with the Court,’ . . . ,” Objection ¶ 6, it was the

 Committee’s advisors that failed to substantively engage on any areas of the proposed engagement,

 including: (a) whether a Sale Transaction Fee or a Restructuring Fee were mutually exclusive (of

 course they are); (b) whether Moelis had any qualifications to sell the claim assets (of course they

 do); or (c) whether the Debtors had available any public data to support Moelis’ proposed fee

 structure (of course they do). Instead of engaging in an ongoing dialogue, however, the Committee

 instituted a meritless attack on the Debtors’ business judgment regarding both selecting Moelis as

 investment banker and the best path to maximize value for the Debtors’ stakeholders.

        8.      In spite of this, and the Objection as a whole, the Debtors have met the legal

 standard to obtain this Court’s approval of Moelis as its investment banker. The Debtors are

 entitled to their choice of professional so long as such professional is disinterested and its fees are

 reasonable. The Debtors and Moelis engaged in good faith, arms’-length negotiations with

 complete transparency with respect to the tasks Moelis will accomplish and the challenges that

 they might face in doing so. The result of those negotiations is the proposed fee structure detailed

 in the Application.

        9.      That fee structure is reasonable in light of the complexities of these chapter 11

 cases. As discussed herein, and in the Supplemental Declaration of Jared Dermont in support of

 this Reply (the “Supplemental Dermont Declaration”), Moelis’ proposed fee structure is well

 within the range of reasonableness and complies with section 328(a) of the Bankruptcy Code. As

 an initial matter, comparison to other cases is just one metric used to determine the appropriate fee

 structure for any one particular engagement. In fact, there were several other important factors


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 that the Debtors and Moelis considered when negotiating Moelis’ engagement including: (a) the

 time commitment required; (b) the potential length of the case; (c) the complexity of the mandate;

 (d) the number of Moelis deal team members (including senior bankers) required; (e) the extent to

 which litigation is likely to be a significant factor in these cases; and (f) the possibility that this

 assignment precludes Moelis from taking another assignment due to time or other factors. All of

 these factors make the fees Moelis is proposing to charge reasonable and in line with market

 practice. Moelis currently has fifteen professionals with expertise in Financial Institutions,

 Cryptocurrency, Blockchain, Claims monetization, Restructuring and M&A actively engaged on

 this matter. Many discussions are ongoing, with Moelis having reached out to more than 200

 parties about potential transactions already.

         10.     Moelis has expended significant resources familiarizing itself with the Debtors’

 businesses and assets, launching and running a marketing process, and working with numerous

 interested parties that have already expressed interest in value-maximizing transactions. As of

 January 24, 2023, Moelis has received bids and will continue to receive bids related to Mining

 assets. Moelis is engaged with a number of potential Customer Platform purchasers demonstrating

 meaningful interest for these assets. The Debtors can imagine nothing more value-destructive than

 to restart their arms’-length negotiations with Moelis—or another investment banker—over fees

 and case strategy at this critical stage of these chapter 11 cases, particularly where the Debtors

 stand ready to obtain Court approval of their bidding procedures and sale schedule immediately.3

 Delay would add cost and distraction and benefit no one—least of all unsecured creditors. The



 3   See Debtors’ Motion Seeking Entry of an Order (I) Approving the Bidding Procedures and Related Dates and
     Deadlines, (II) Scheduling Hearings and Objection Deadlines with Respect to the Debtors; Sale, Disclosure
     Statement, and Plan Confirmation, and (III) Granting Related Relief ¶ 17(a) [Docket No. 226] (the “Bidding
     Procedures Motion”) (requesting that the Court approve a sale schedule including an auction on
     February 17, 2023 and a hearing to approve a sale resulting therefrom in March).


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 Debtors believe that Moelis is best-suited to maximize value for all stakeholders in these

 chapter 11 cases and that Moelis’ fees are reasonable. The Objection should be overruled and the

 Application should be approved.

 I.     The Terms of Moelis’ Retention Comply with Section 328(a) of the Bankruptcy Code.

        11.     Section 328(a) of the Bankruptcy Code allows a debtor, with the court’s approval,

 to employ a professional person, including an investment banker, “on any reasonable terms and

 conditions of employment.” 11 U.S.C. § 328(a). Accordingly, the appropriate inquiry under

 section 328(a) of the Bankruptcy Code is “whether taken as a whole, the terms of the retention are

 fair and reasonable, and the retention is in the best interest of the estate.” In re Joan & David

 Halpern, Inc., 248 B.R. 43, 47 (Bankr. S.D.N.Y. 2000).

        12.     When making the determination that a fee structure is reasonable compensation

 pursuant to section 328(a) of the Bankruptcy Code, courts consider whether a debtor exercised its

 reasonable business judgment in proposing the fee structure. See In re Contractor Tech., Ltd.,

 No. H-05-3212, 2006 WL 1492250 (S.D. Tex. May 30, 2006) (approving a counsel’s contingency

 fee pursuant to section 328(a) of the Bankruptcy Code because the record supported the assessment

 that the trustee exercised reasonable business judgment in proposing the contingency fee plan).

        13.     Factors courts in this Circuit consider in making such a determination include, but

 are not limited to:

                (a)    whether terms of an engagement agreement reflect normal business
                       terms in the marketplace;

                (b)    the relationship between the Debtor and the professionals, i.e.,
                       whether the parties involved are sophisticated business entities with
                       equal bargaining power who engaged in an arms’-length
                       negotiation;

                (c)    whether the retention, as proposed, is in the best interests of the
                       estate;


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                (d)     whether there is creditor opposition to the retention and retainer
                        provisions; and

                (e)     whether, given the size, circumstances and posture of the case, the
                        amount of the retainer is itself reasonable, including whether the
                        retainer provides the appropriate level of “risk minimization,”
                        especially in light of the existence of any other “risk-minimizing”
                        devices, such as an administrative order and/or a carve-out.

 In re Insilco Techs., Inc., 291 B.R. 628, 634 (Bankr. D. Del. 2003). “[The] list is not intended to

 be exhaustive, nor will every factor necessarily be of equal weight, depending upon the

 circumstances.” Id.; see In re Energy Partners, Ltd., 409 B.R. 211, 226 (Bankr. S.D. Tex. 2009)

 (citing Insilco, 291 B.R. at 633).

        14.     Further, the Debtors had no obligation to select the investment banking firm that

 quoted the lowest fees, nor avoid the investment banking firm that quoted the highest fees.

 See Walton v. Houlihan, Lokey, Howard & Zukin (In re USA Theatre Co.), 315 F.3d 217, 230

 (3d Cir. 2003) (noting that a court’s “reasonableness” inquiry under section 328(a) of the

 Bankruptcy Code is: “market driven,” but not “market-determined”). When analyzing whether a

 proposed fee structure is “reasonable” under section 328(a) of the Bankruptcy Code, courts have

 undertaken a fact-specific inquiry that takes into account the market rate. See In re Niover

 Bagels, Inc., 214 B.R. 291, 294 (Bankr. E.D.N.Y. 1997) (“The flexibility written into

 [section 328(a) of the Bankruptcy Code] encourages bankruptcy judges to approve compensation

 arrangements that reflect market conditions and to fashion arrangements suitable to the

 circumstances of the case before it.”). There is no statutory requirement that the proposed fee

 structure needs to be exactly or below the market mean/median for it to be considered “reasonable”

 under section 328(a) of the Bankruptcy Code. See Walton, 315 F.3d at 230 (noting that a court’s

 “reasonableness” inquiry under section 328(a) of the Bankruptcy Code is “market driven,” but not

 “market-determined”). Nevertheless, Moelis’ Transaction Fees are similar to the fees approved


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 by the courts in comparable cryptocurrency debtor restructuring engagements and are reasonable

 because it reflects “normal business terms in the marketplace.” Insilco, 291 B.R. at 634.

          15.      The Committee asserts that Moelis’ fees are unreasonably high while

 simultaneously understating the recoveries Moelis would need to achieve for the estates in order

 to be eligible for such fees. Importantly, Committee overstates the total fees that Moelis could

 earn in these chapter 11 cases by approximately $7 million. See Objection ¶ 5 (“[t]he Debtors

 think it reasonable for Moelis to charge the estates north of $10 million, trending towards $20

 million (payable regardless of outcome), for exploring options.”). The Committee’s math is

 simply wrong by approximately 54%. In fact, the maximum that Moelis could earn in a six-month

 case is approximately $13 million, composed of an $8 million Restructuring Fee, $4 million in

 transaction fees for both Mining and Claim monetization, 4 and $0.9 million in Monthly Fees, after

 50% of last three months is netted against the Restructuring Fee. If the chapter 11 cases continue

 for nine months, then the maximum Moelis could earn is $13.2 million.5

II.       The Insilco Factors Support Approval of Moelis’ Retention Under the Proposed Fee
          Structure.

          16.      As detailed above, courts in the Third Circuit have considered the Insilco factors

 when determining whether (a) the terms of a proposed retention are fair and reasonable and

 (b) such retention is in the best interest of the estate.                  See Insilco, 291 B.R. at 634.

 The Insilco factors weigh in favor of approval of Moelis’ retention and its proposed fee structure.




 4    $4 million is a capped fee which could only be achieved through minimum sale proceeds of $70 million in the
      case of one sale (either Mining or Claims) and $60 million in the case of two sales (both Mining and Claims).
 5    Maximum fee shown on a comparable basis to Objection framework.


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        A.      Whether the terms of Moelis’ engagement agreement reflect normal business
                terms in the marketplace.

        17.     Moelis’ proposed fee structure is “comparable to those generally charged by

 investment    banking    firms   of    similar   stature   to   Moelis    and    for   comparable

 engagements[.]” See Insilco, 291 B.R. at 634 (stating that the “size, circumstances and posture of

 the case” should be considered when assessing reasonableness). As demonstrated in Exhibit B

 attached to the Supplemental Dermont Declaration, each component and the total fees to which

 Moelis may be entitled in this case are consistent with market practice for large, complex

 cryptocurrency debtor engagements. Accordingly, given that Moelis’ proposed fees and fee

 structure are comparable to those charged by peer investment banking firms in similar cases, such

 fees reflect normal business terms in the marketplace and are reasonable under section 328(a) of

 the Bankruptcy Code.

        B.      Relationship between the Debtors and Moelis.

        18.     Moelis’ proposed fee structure is the result of good faith, arms’-length negotiations

 between the Debtors, its advisors, and Moelis.        As described in Exhibit A attached to the

 Supplemental Dermont Declaration, following several days of discussion, the Debtors successfully

 negotiated reductions to Moelis’ proposal across nearly every fee component, including a

 reduction of up to $2 million from the Restructuring Fee and Sale Transaction Fee. Accordingly,

 the evidence shows that the terms of Moelis’ retention were negotiated by sophisticated,

 independent parties with equal bargaining power on an arms’-length basis.




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         C.        Whether Moelis’ proposed retention is in the best interests of the Debtors’
                   estates.

         19.       The Debtors’ retention of Moelis is in the best interests of their estates for several

 reasons.6 Moelis has already spent several months crafting and executing a marketing process,

 which has yielded significant interest in the Debtors’ Mining assets and Customer Platform. The

 Debtors have also been working on a sale of certain assets on an immediate timeline.7 Moreover,

 Moelis’ experience with and knowledge of the Debtors, the crypto industry, and its key players

 will be vital to the success of the Debtors’ restructuring regardless of whether it comes by way of

 a sale of the Debtor’s assets, a chapter 11 self-liquidation, a stand-alone chapter 11 plan, or any

 other restructuring path. Moelis has contributed significant time and resources to move this case

 forward, including dedicating fifteen team members (including six managing directors) and

 tapping other important resources as necessary.

         20.       Materially modifying the proposed fee structure, which the Debtors have

 demonstrated is reasonable and in line with the market, risks causing Moelis to need to pare back

 on time and resources that have already been successfully mobilized toward the Debtors’ goal to

 rapidly return value to their stakeholders. Accordingly, given the substantial work Moelis has

 already conducted on this case (prior to having its retention approved by the Court) and its

 invaluable experience, the Debtors’ retention of Moelis is in the best interests of the estates.




 6   See Insilco, 291 B.R. at 635 (“[retention of the pre-petition professionals] is of great advantage to the estate, since
     the same professionals who assisted the Debtor in preparation for the conduct of this case, substantially in advance
     of the filings, continue to render services.”).
 7   See generally Bidding Procedures Motion ¶ 17.




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        D.      Whether there is creditor opposition to Moelis’ retention.

        21.     The only objecting party to the Application is the Committee and, as discussed

 herein, they fundamentally misunderstand the importance of Moelis and the services they will

 provide to obtain the best outcome for creditors in these chapter 11 cases.

        E.      Whether Moelis’ compensation is appropriate given the size, circumstances,
                and posture of the case.

        22.     The Committee was correct when it observed that these are not run-of-the-mill

 bankruptcy cases. In many ways, these cases are measurably more complex and fraught with risk

 than other large chapter 11 cases. The Committee, however, appears to believe that these factors

 warrant a reduction in Moelis’ fees. The Debtors argue, instead, that Moelis and the Debtors,

 through good faith, arms’-length negotiations, have come to an agreement that fully encompasses

 the range of risks and complexities present in this case, balanced against the Debtors’ fiduciary

 duty to return maximum value to their stakeholders.

        23.     Accordingly, the Insilco factors weigh heavily in favor of Moelis’ retention and

 support that (a) the terms thereof are fair and reasonable, and (b) such retention is in the best

 interests of the Debtors’ estates.

 III.   The Transaction Fees are Reasonable and Should be Approved.

        24.     The Debtors met their burden of proof and persuasion when they filed the

 Application and the Klein Declaration, each of which described, in detail, the reasons why the

 Debtors believe Moelis’ retention on the terms and conditions set forth in the Engagement Letter

 is appropriate and justified under the circumstances.

        25.     It is the Committee that has not shown in their Objection how or why the

 Transaction Fees are not a reasonable exercise of the Debtors’ business judgment.            The

 Committee’s objections to the Transaction Fees should be overruled on that basis alone.


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         A.      The Sale Transaction Fee and the Restructuring Fee are Reasonable and
                 Should be Approved.

         26.     First, the terms of each of the Sale Transaction Fee and Restructuring Fee were laid

 out clearly in the Application, as well as the circumstances under which each may be earned.

 See Application ¶¶ 17⁠–⁠19. Pursuant to the Engagement Letter, which is attached as Exhibit A to

 the proposed order, Moelis earns the Restructuring Fee, not the Sale Transaction Fee, if there is a

 Sale Transaction (as defined in the Engagement Letter) pursuant to section 363 of the

 Bankruptcy Code. See Engagement Letter at 3. Moelis would have only been able to earn the

 Sale Transaction Fee if the Debtors had consummated a sale of some or all of their assets outside

 of these chapter 11 cases, as any Sale Transaction within these chapter 11 cases would involve

 section 363 of the Bankruptcy Code, whether in accordance with an approved sale order or a

 confirmed chapter 11 plan.

         27.     Second, there is data suggesting that the estates will generate more sale proceeds

 than would be paid for exploring the option, and, in fact, comparable transactions pointed to by

 the Committee prove the point. The recent asset purchase agreement entered into between

 Voyager Digital, LLC (“Voyager”) and Binance.US (the “Voyager-Binance US Transaction”) in

 the chapter 11 cases of In re Voyager Digital Holdings, Inc., et al,8 did far more than “yield[] a

 mere $20 million to the estates,” as the Committee suggests. Objection ¶ 15. Rather, in addition

 to the purchase price of up to $35 million, the Voyager-Binance US Transaction (a) eliminates in

 excess of $130 million in leakage costs that the Voyager debtors would have incurred in a

 self-liquidation scenario due to the estimated discount in liquidating sizable positions in the




 8   The Voyager debtors’ chapter 11 cases are currently pending in the United States Bankruptcy Court for the
     Southern District of New York styled as In re Voyager Digital Holdings Inc., et al., Case No. 22-10943 (MEW)
     (Bankr. S.D.N.Y. 2022).


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 marketplace to return in-kind distributions to customers and liquidating additional cryptocurrency

 to fund working capital requirements to complete the work required; (b) provides the most tax

 efficient route forward at massive benefit to creditors as Binance.US supports 100% of the

 cryptocurrency coins on the Voyager platform (approximately 20% of the coins on the Voyager

 platform cannot be withdrawn by customers in a self-liquidation scenario but can be withdrawn by

 customers from certain third-party exchanges like Binance.US); and (c) reduces the security risks

 inherent in a self-liquidation.9          As set forth in the Voyager disclosure statement, the

 Voyager-Binance US Transaction is estimated to provide a 6% higher recovery to creditors than

 a self-liquidation and a 12%-16% higher return to creditors than a chapter 7 liquidation.

         28.      Additionally, the amount of the Sale Transaction Fee in this case is $4 million lower

 than the Sale Transaction Fee approved in Voyager⁠—a Sale Transaction Fee that did not draw an

 objection from the official committee of unsecured creditors in Voyager⁠—and $2⁠-4 million lower

 than nearly every other comparable cryptocurrency engagement. See Exhibit B attached to the

 Supplemental Dermont Declaration (comparing Sale Transaction Fees across seven comparable

 engagements).

         29.      Further, the Debtors are significantly encouraged by the interest that Moelis’

 marketing process has already garnered, with more than fifty-five potential M&A counterparties

 having executed nondisclosure agreements and gained access to a virtual data room containing

 volumes of information regarding the Debtors’ business operations, finances, and material

 contracts. This number has nearly doubled since the Debtors filed the Debtors’ Motion Seeking

 Entry of an Order (I) Approving the Bidding Procedures and Related Dates and Deadlines,


 9   See Tr. of Hg. Held Jan. 10, 2023 at 138:18⁠–⁠23, In re Voyager Digit. Holdings, Inc., No. 22-10943 (MEW)
     (Bankr. S.D.N.Y Jan. 13, 2022) [Docket No. 864] (stating the debtors’ view that a self-liquidation toggle would
     result in “potentially over $100 million of value leakage”).


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 (II) Scheduling Hearings and Objection Deadlines with Respect to the Debtors’ Sale, Disclosure

 Statement, and Plan Confirmation, and (III) Granting Related Relief [Docket No. 226] on

 January 9, 2023. As of January 24, 2023, Moelis has received bids and will continue to receive

 bids related to Mining assets. Moelis is engaged with a number of potential Customer Platform

 purchasers demonstrating meaningful interest for those assets.

          30.      Third, the Application is clear on the services Moelis will provide to justify

 payment of the Restructuring Fee. As described above, in the Application, the Klein Declaration,

 and the Supplemental Dermont Declaration, Moelis’ role and responsibilities in these chapter 11

 cases could not be more outcome determinative for the Debtors. Although the Committee alleges

 that the Restructuring Fee appears to be no more than an “extrapolation” of fees Moelis has

 requested in other bankruptcies, see Objection ¶ 16, this argument tacitly admits that the

 Restructuring Fee is in line with the market, and the fees obtained in similar engagements. In fact,

 here, the Restructuring Fee is lower than the mean and median fees in similarly sized chapter 11

 cases. Supplemental Dermont Declaration Ex. B.

          B.       The Monthly Fee is Reasonable and Should be Approved.

          31.      There is nothing unusual about a standard Monthly Fee which is ultimately credited

 against other fees,10 which is, again, in line with prevailing market terms. And again, the

 Committee has admitted that the Monthly Fee, like the Restructuring Fee and the Sale Transaction

 Fee, is a normal business term in the marketplace in its Objection. See Objection ¶ 7. A review

 of comparable transactions shows that this is the case. As such, under the circumstances, the

 Monthly Fee is reasonable.



 10   See Application ¶ 17(ii) (providing that 50% of the Monthly Fee shall be offset against the Sale Transaction Fee
      or the Restructuring Fee).


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          C.       The Claims Monetization Fee is Reasonable and Should be Approved.

          32.      Moelis has the requisite “competency” to advise on a potential monetization of

 litigation claims. As set forth in the Supplemental Dermont Declaration, Moelis has been engaged

 on a range of mandates involving large-scale claims (including multiple $1 billion disputes).

 See Exhibit D attached to the Supplemental Dermont Declaration. In fact, Moelis advertises its

 claim monetization capabilities on its firm website.                   See https://www.moelis.com/merger-

 acquisitions/ (“We provide a full suite of strategic advisory services including . . . designing and

 executing claim monetization solutions.”). As further set forth in the Supplemental Dermont

 Declaration, Moelis has an extensive knowledge of the claims market and its investors, and

 notwithstanding the allegations of the Committee, has developed a proposed outreach list that is

 almost completely devoid of market makers.

          33.      The fact that there are perhaps other firms that could provide a service to the

 Debtors is not relevant to the inquiry of whether the Debtors have exercised their sound business

 judgment in selecting their own advisor. Smith, 507 F.3d at 71 (holding that courts should interfere

 with debtors’ choice of professionals in only the rarest of circumstances). The Committee’s

 argument to the contrary points to an article from the Wall Street Journal detailing how some

 individual customers in other cryptocurrency-related bankruptcy cases have chosen to sell their

 claims on claims trading markets. Objection ¶ 19.11 But there is no comparison between buying

 modest individual customer claims and the services Moelis proposes to perform here. The trading

 outfits mentioned in this article are not equipped to maximize value for the estate, as these

 platforms focus on claims significantly smaller than those held by BlockFi, mainly work with retail


 11   Citing Jonathan Randles, Crypto Customers Sell Claims at a Loss to Avoid Bankruptcy Wait, Wall St. J., Dec. 28,
      2022 (available at https://www.wsj.com/articles/crypto-customers-sell-claims-at-a-loss-to-avoid-bankruptcy-
      wait-11672177834).


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 investors or small businesses, and regularly process claims in a matter of days. Moelis, on the

 other hand, provides services that these others cannot: a specialization in structuring and executing

 claim monetization solutions, with a robust and competitive process designed to optimize

 recovery. Moelis’ services are therefore particularly relevant and valuable to the claims subject to

 sale in these cases, which are unique and highly complex assets that require significant experience

 and expertise to maximize value.

        D.        The Mining Asset Sale Fee is Reasonable and Should be Approved.

        34.       Finally, Moelis’ Mining Asset Sale Fee is reasonable under the circumstances and

 a sound exercise of the Debtors’ business judgment. Ultimately, the Committee’s arguments to

 the contrary demonstrate that the Committee objects more to the current market for such assets

 rather than the particulars of this case. That alone is insufficient to show that Moelis’ proposed

 fees, individually or in the aggregate, are unreasonable, out-of-step with the market, or otherwise

 objectionable.

        35.       The Debtors have welcomed and will continue to welcome the Committee’s input

 on a variety of matters in these chapter 11 cases. That input, however, does not take precedence

 over the Debtors’ sound business judgment in selecting its professionals.

                                             Conclusion

        36.       As demonstrated, the Application satisfies the reasonableness standard of

 section 328(a) of the Bankruptcy Code. Accordingly, the Objection should be overruled and the

 Application granted.




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        WHEREFORE, the Debtors respectfully request that the Court grant the Application,

 overrule the Objection, and grant related relief.

  Dated: January 25, 2023                            /s/ Michael D. Sirota
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